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 1   Todd M. Friedman (SBN 216752)
 2
     Adrian R. Bacon (SBN 280332)
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3   21550 Oxnard St., Suite 780
 4   Woodland Hills, CA 91367
     Phone: 877-206-4741
 5
     Fax: 866-633-0228
 6   tfriedman@ toddflaw.com
 7
     abacon@ toddflaw.com
     Attorneys for Plaintiff
 8

 9                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11
                                                )
12    KRISTYNA SOUDERS, individually and on ) Case Number
13     behalf of all others similarly situated, )
14
      Plaintiff,                                ) 2:18-cv-06693-SVW-SK
15    vs.                                       )
      CLEARONE ADVANTAGE, LLC; and              ) NOTICE OF SETTLEMENT
16
      DOES 1 through 10, inclusive,             )
17
                                                )
18    Defendant.                                )
19
            NOW COME THE PLAINTIFF by and through their attorneys to respectfully
20
     notify this Honorable Court that this case has settled. Plaintiff requests that this Honorable
21
     Court vacate all pending hearing dates and allow sixty (60) days with which to file
22
     dispositive documentation. Dispositional documents will be forthcoming. This Court
23
     shall retain jurisdiction over this matter until fully resolved.
24

25                         Respectfully submitted this September 6th, 2018.
26
                                                             By: /s/Adrian R. Bacon
27
                                                              Adrian R. Bacon, ESQ.
28




                                           Notice of settlement - 1
     Case 2:18-cv-06693-SVW-SK Document 11 Filed 09/06/18 Page 2 of 2 Page ID #:30



 1

 2
                             CERTIFICATE OF SERVICE
 3

 4
     Filed electronically on September 6th, 2018, with:
 5
     United States District Court CM/ECF system
 6

 7   Notification sent electronically on September 6th, 2018, to:
 8
     To the Honorable Court, all parties and their Counsel of Record
 9

10   This 6th Day of September, 2018.
11
     By: /s/ Adrian R. Bacon
12
       Adrian R. Bacon, ESQ.
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                                      Notice of settlement - 2
